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                   RG 24-05513 Interim ruling Ch 3 - 3 Heidi BROWN v. Arnaud PARIS


From: Jean ROOY <jean.rooy@esperem.org>
Sent: Friday, May 3, 2024, 1:46 pm
To: Mariella LUXARDO <Mariella.Luxardo@justice.fr>
Cc: Terence.richoux@trx-legal.com; farrugiaavocat@gmail.com; mediation familiale
<mediation.familiale@esperem.org>; Marina Barte <marina.barte@esperem.org>; Agathe
Beaupere <agathe.beaupere@yahoo.fr>
Subject: RG 24-05513 Interim ruling Ch 3 - 3 Heidi BROWN v. Arnaud PARIS

Madame President:

I'm contacting you again with regard to the above-mentioned case, subsequent to the interlocutory
hearing held on April 3, 2024, at the end of which I provided information about family mediation to Ms.
Heidi BROWN and Mr. Arnaud PARIS.

Having received this information, Ms. BROWN and Mr. PARIS decided by mutual agreement to initiate
a family mediation process.

A first joint session took place at our offices the following day, i.e. on April 4, 2024.

At the end of this meeting, it was agreed that the subsequent mediation sessions would take place by
video conference, given the imminent departure of Ms. BROWN for Perpignan with her children before
her return to the United States.

But the second joint mediation session, initially scheduled for Thursday April 11, 2024, could not be held
because Ms. BROWN failed to honor the appointment, did not log in, and did not respond to our calls.

In a joint e-mail, I then proposed a postponement of this session to Tuesday April 16, 2024 without any
response from Ms. BROWN. We have in the meantime been informed by Mr. PARIS that the children
may possibly have been taken to the United States.

Under these conditions, we are forced to suspend family mediation.

We are ready to resume the process, however, if requested.

Given the circumstances of this case, we wanted to keep you informed of these elements.

Sincerely yours,
Family Mediation Service
Jean ROOY (0663221230)
Agathe BEAUPERE
Valerie CHI PAULT
Geraldine TOLEDANO
Marina BARTE
Jean ROOY
Phone: 01.40.35.81.60
www.mediation-familiale-75.fr
190 rue Lafayette 75010 Paris
                                                                                            June 8, 2024 9:46 pm


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                               RG 24-05513 Refere Ch 3-3 BROWN Heidi-PARIS Arnaud
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        De: Jean ROOY <jean.rooy@esperem.org>
        Envoye: vendredi 3 mai 2024 13:46
        A: LUXARDO Mariella <Mariella.Luxardo@justice.fr>
        Cc: terence.richoux@trx-legal.com; farrugiaavocat@gmail.com; mediation familiale
        <mediation.familiale@esperem.org>; Marina Barte <marina.barte@esperem.org>; Agathe
        Beaupere <agathe.beaupere@yahoo.fr>
        Objet: RG 24-05513 Refere Ch 3-3 BROWN Heidi-PARIS Arnaud

        Madame le President,

        Je reviens vers vous dans le dossier vise en reference, suite a!'audience en refere qui s'est tenue le 3 avril
        2024 et au terme de laquelle j'ai delivre une information sur la mediation familiale aMadame Heidi
        BROWN et aMonsieur Arnaud PARIS.

        A !'issue de cette information, Madame BROWN et Monsieur PARIS ont decide, d'un commun accord,
        de demarrer un processus de mediation familiale.

        Une premiere seance commune s'est tenue en nos locaux, le lendemain, soit le 4 avril 2024.

        A l'issue de celle-ci, il a ete convenu que les seances de mediation suivantes se tiendraient en visio-
        conferences, compte-tenu du depart imminent de Madame BROWN aPerpignan avec ses enfants, avant
        son retour aux Etats-Unis.

        Neanmoins, la deuxieme seance de mediation commune, initialement fixee le jeudi 11 avril 2024, n 'a pu
        se tenir, Madame BROWN n'ayant pas honore le rendez-vous, ne s'etant pas connectee et n'ayant pas
        repondu anos appels.

        J'ai ensuite propose, dans le cadre d'un mail commun, un report de cette seance au mardi 16 avril 2024,
        sans reponse de la part de Madame BROWN. Nous avons ete, dans le meme temps, informes par
        Monsieur PARIS que Jes enfants auraient ete deplaces aux Etats-Unis.

        Dans ces conditions, nous sommes contraints de suspendre cette mediation familiale.

        Cependant si la demande nous en etait faite, nous sommes prets areprendre le processus.

        Compte-tenu de~ circonstances du dossier, nous souhaitions vous tenir informee de ces elements.

        Je vous prie de croire, Madame le President, a!'assurance de ma consideration respectueuse.

        Le Service de Mediation Familiale

        Jean ROOY (0663221230)

        Agathe BEAUPERE

        Valerie CHIPAULT

        Geraldine TOLEDANO

        Marina BARTE

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